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 AO 91 (Rev. 08/09) Criminal Complaint

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                                      UNITED STATES DISTRICT COURT
                                                                        for the                                             OCT   1   5 2019
                                                            Western District of Texas                       CLERK. U.S. DISTRICT COURT
                                                                                                            WESTERN            OF TEXAS
                  United States of America                                 )

                                 V.                                        )                                                      DEPUTY CLERK
                      ZAPATA, Eugenic
                                                                           )       Case No.
                           05/05/1983                                      )

                                                                           )
                  Eagle Pass, Texas 78852
                                                                           )
                            Defendant(s)



                                                         CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                       201 9-10-11                      in the county of                   Maverick                  in the
      Western           District of              Texas              ,   the defendant(s) violated:

             Code Section                                                            Offense Description
                                                 unlawfully, knowingly and intentionally imported and caused to be imported a
21 USC 952
                                                 quantity of Cocaine, approx 3.5kgs, a Schedule II Controlled Substance.

          This criminal complaint is based on these facts:


 On October 11, 2019, Eugenic ZAPATA was encountered by United States Border Patrol Agents (BPAs) assigned to the
 Immigration Checkpoint located on US Highway 57 in Maverick County, Texas driving a Black four door pickup bearing
 Texas License Plate HFB8556. Homeland Security Investigations (HSI) Special Agents (SA5) informed BPAs, prior to
 ZAPATA arriving to the checkpoint, if ZAPATA was encountered to inspect his vehicle. HSI suspected the vehicle to
 possibly have narcotics. During primary inspection, ZAPATA stated he was traveling to Natalia, Texas to buy feed from a
 feedstore for his livestock in Mexico. ZAPATA was referred to secondary inspection. In secondary, ZAPATA was asked
 to exit his vehicle and BPAs performed a K9 inspection. The K9 alerted to the rear of the vehicle. BPAs searched the
 area and located three (3) bricks wrapped in lead. The bricks were eventually probed, and a white powdery substance
 was found. The powdery substance was field tested, and the substance tested positive for the characteristics and
 properties of cocaine. The unofficial preliminary weight was approximately 3.5 kgs. In a post Miranda statement, ZAPATA
 stated he was the primary user of the vehicle and the vehicle was locked and in his possession the night before. ZAPATA
 stated he entered the United States via the Eagle Pass, Texas Port of Entry and traveled directly to the checkpoint.


        LIContinued on the attached sheet.
                                                                                                                      t,s


                                                                                                                    Javier
                                                                                                                  name and title

Sworn to before me and signed in my presence.


Date:             10/15/2019
                                                                                                     7tJ     Judge's signature


City and state:                            Del Rio, Texas                                     Uni4d States Magistrate Judge
                                                                                                           Printed name and title


                                                                                                Vitor Roberto Garcia
                                                                                                 U  Magistrate Judge
